
The Supreme Court affirmed the judgment of the Common Pleas on October 6th, 1883, in the following opinion:
Per Curiam.
This was an effort to enforce the payment of assessments on the stock contrary to the express terms of the subscription. It declared inter alia that no assessment should be made unless “for work actually done in grading.” This agreement was one which the parties had an undoubted right to make. It was not contrary to public policy nor in conflict with any statute. The defendant was not willing to pay in advance. He therefore stipulated he should not pay until the work was actually done. The doing of the grading was to precede the making of any assessments for him to pay. The learned judge ruled the case correctly according to the letter and spirit of the agreement.
Judgment affirmed.
